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                           UNITED STATES DISTRICT COURT
                                      FOR THE
                               DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :      1:21-cr-00175 (TJK)
                                                   :
 V.                                                :
                                                   :
 JOSEPH BIGGS, ZACHARY REHL                        :
 and DOMINIC PEZZOLA,                              :      JANUARY 26, 2025


      MOTION TO DISMISS TERMS OF SUPERIVISED RELEASE AND PROBATION
            PURSUANT TO EXECUTIVE ORDER GRANTING CLEMENCY

       The undersigned hereby moves that this Court dismiss any term of supervised

release and probation as to Mssrs. Biggs, Rehl and Pezzola. In support hereof, the

undersigned moves as follows:

       1. President Donald Trump issued an order on January 20, 2025, commuting the

          sentences of the movants to “time served” and the men have subsequently

          been released from actual custody.

       2. Despite this offer, the three men have been ordered to comply with various

          restrictions on their liberty, including reporting for supervised release.

          (Conditions were imposed on Mssrs. Rehl and then removed.)

       3. Mr. Biggs’ supervisor has imposed conditions on his release, indicating that he

          will be “the only commuttee” whose liberty will be subject to conditions and that

          he will never get a pardon.

       4. The United State’s Attorney for the District of Columbia has made a similar

          motion to the instant motion, which is pending before Judge Metha, in the so-

          called Oath Keepers’ case. The motion was filed after Judge Mehta sua sponte

          sought to bar one or more of the released Oath Keepers from Capitol grounds.


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          Docket Entry 941, USA v. Rhodes, et al., 1:22-cr-00015-APM).

      5. An accused’s “final sentence includes any supervised release he may receive.”

          United States v. Haymond, 588, 634, 648 (2019).

      6. According the Government’s aforesaid motion, the any orders regarding

          supervised release ”must be vacated.”

      7. The movants agree with the Government, and request immediate relief.

      WHEREFORE, the movants request that this Court vacate any orders regarding

supervised release and conditions of liberty and dismiss the orders.




                                                  By: /s/ NORMAN A. PATTIS /s/
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                              CERTIFICATION OF SERVICE

        The undersigned hereby certifies that, on the above-captioned date, a copy of the

 foregoing was filed electronically and served by mail on anyone unable to accept

 electronic filing. Notice of this filing will be sent by email to all parties of record by

 operation of the Court’s electronic filing system or by mail to anyone unable to accept

 electronic filing. Parties may access this filing through the Court’s system.

                                                         /s/ Norm Pattis /s/



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